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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY, et al.,
                       Plaintiffs,
                  v.                         Case No. 1:24-cv-3220 (DLF)

ROBERT F. KENNEDY JR., et al.,
                       Defendants.

SANOFI-AVENTIS U.S. LLC
                       Plaintiff,
                  v.                         Case No. 1:24-cv-3496 (DLF)

ROBERT F. KENNEDY JR., et al.,
                       Defendants.

BRISTOL MYERS SQUIBB COMPANY,
                       Plaintiff,
v.                                           Case No. 1:24-cv-3337 (DLF)

ROBERT F. KENNEDY JR., et al,
                       Defendants.

NOVARTIS PHARMACEUTICALS
CORPORATION,
                       Plaintiff,            Case No. 25-cv-0117 (DLF)
v.
ROBERT F. KENNEDY JR., et al,
                       Defendants.


     [PROPOSED] ORDER GRANTING 340B HEALTH, UMASS MEMORIAL
        MEDICAL CENTER, AND GENESIS HEALTHCARE SYSTEM’S
            CROSS MOTION FOR SUMMARY JUDGMENT AND
       DENYING PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT
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        Upon consideration of 340B Health, UMass Memorial Medical Center, and Genesis

HealthCare System’s (Intervenor Defendants’) Cross Motion for Summary Judgment and

Opposition to Plaintiffs’ Motions for Summary Judgment, it is hereby

        ORDERED that the Intervenor Defendants’ Cross Motion for Summary Judgment is

granted; and it is further

        ORDERED that Plaintiffs’ Motions for Summary Judgment is denied; and it is further

        ORDERED that the above-captioned cases are dismissed with prejudice.




Dated: __________, 2025

                                                UNITED STATES DISTRICT JUDGE
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Local Rule 7(k) Appendix: Names and Addresses of Attorneys Entitled to Be Notified of
This Entry

Marlan Golden
Sean Marotta
Catherine Emily Stetson
HOGAN LOVELLS US LLP
555 13th Street, NW
Washington, DC 20004

John Caviness O'Quinn
Matthew Scott Owen
KIRKLAND & ELLIS LLP
1301 Pennsylvania Avenue
Washington, DC 20004

Jacob Tyler Young
HOGAN LOVELLS US LLP
12 East Spring Street
Alexandria, VA 22301

John Bardo
DOJ-USAO
601 D Street NW
Washington, DC 20530

Noel John Francisco
JONES DAY
51 Louisiana Avenue, NW
Washington, DC 20001

Rajeev Muttreja
Toni Citera
JONES DAY
250 Vesey Street
New York, NY 10281
